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8                          IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )
                                          )    2:04-cr-0205-GEB
12                      Plaintiff,        )
                                          )
13                v.                      )    ORDER
                                          )
14   THA BUN HENG; CHHOM MAO; and         )
     CLEVIE EARL BUCKLEY, JR.,            )
15                                        )
                        Defendants.       )
16                                        )
                                          )
17
18                A hearing is scheduled on December 1, 2006, at 9:00 a.m. on
19   Defendant Heng’s motion in limine and Defendant Buckley’s motion to
20   dismiss, which Defendant Heng has joined.           Separate orders issued
21   today on both motions.       However, this action will remain calendared at
22   the stated time since the parties’ views are sought on the proposed
23   preliminary jury instructions and voir dire which were also filed
24   today.
25                Further, the government’s trial brief states a
26   representative of the United State’s Marshal’s Service has indicated a
27   request will be made that each defendant be restrained during the
28   trial “by attaching a cable secured to counsel table to an ankle iron


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1    around one ankle of each defendant.”          (Trial Brief at 17.)        This
2    matter should also be discussed at the hearing.
3                 IT IS SO ORDERED.
4    Dated:     November 30, 2006
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6                                        GARLAND E. BURRELL, JR.
7                                        United States District Judge

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